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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                            CASE NO. 1:21:CR:392-RCL


                                                    DEFENDANTS UNOPPOSED MOTION
VS                                                  TO TRAVEL


RUSSELL TAYLOR
DEFENDANT




Defendant Russell Taylor, through his counsel, files this unopposed motion to travel. It is the
understanding of Mr. Taylor that both Pre Trial-Services and the United States Attorney’s Office
would defer to the Court on this travel request.

Mr. Taylor requests that the Court allow him to travel on the following dates:

     1. August 21, 2022 to August 31, 2021 to Utah in order to perform required repairs and
        services upon property owned by the family in the St. George area. Mr. Taylor will also
        spend a few days with family in the surrounding area. Mr. Taylor will travel by car to
        Utah through Nevada and briefly Arizona.



Respectfully Submitted,


Dyke Huish
Dyke Huish

Attorney for Russell Taylor
